           Case 2:22-cv-00506-RAH Document 41 Filed 09/08/22 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

ALAN EUGENE MILLER,                      )
                                         )
              Plaintiff,                 )
                                         )
      v.                                 )       CASE NO. 2:22-cv-506-RAH
                                         )
JOHN Q. HAMM, Commissioner,              )
Alabama Department of Corrections,       )
et al.,                                  )
                                         )
              Defendants.                )

                                     ORDER

      Pending before the Court is the Motion for Order Transporting Alan Eugene

Miller to the Frank M. Johnson Jr. U.S. Courthouse and for Counsel’s Reasonable

Access to Mr. Miller. (Doc. 40.) An evidentiary hearing on the Plaintiff’s Motion

for Preliminary Injunction is SET for September 12, 2022, at 9:00 a.m. CDT in

Courtroom 2D of the Frank M. Johnson, Jr. U.S. Courthouse, 1 Church Street,

Montgomery, Alabama. Accordingly, it is

      ORDERED as follows:

       (1) To the extent Plaintiff requests a transport order, the Motion is

             GRANTED. The persons having custody of Alan Eugene Miller (AIS

             0000Z672) shall produce him at the evidentiary hearing scheduled in

             this matter.
 Case 2:22-cv-00506-RAH Document 41 Filed 09/08/22 Page 2 of 2




 (2) To the extent Plaintiff requests a brief meeting with counsel prior to the

    hearing, the Motion is GRANTED. Counsel will be allowed to meet with

    Plaintiff 30 minutes prior to the start of the evidentiary hearing. The

    persons having custody of Plaintiff shall ensure he is available to

    meet with his counsel on or before 8:30 a.m. CDT in the Frank M.

    Johnson, Jr. U.S. Courthouse.

 (3) The Clerk is DIRECTED to provide a copy of this order to the transfer

    agent for the Alabama Department of Corrections and to the United

    States Marshal.

DONE, on this the 8th day of September, 2022.


                                /s/ R. Austin Huffaker, Jr.
                         R. AUSTIN HUFFAKER, JR.
                         UNITED STATES DISTRICT JUDGE




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